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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 Crowley Puerto Rico Services, Inc.; Crowley            CIVIL NO.:
 Caribbean Services, LLC
                                                       IN ADMIRALTY/MARITIME;
 Plaintiffs                                            DECLARATORY JUDGMENT

       v.

 Tire Kingdom; Infinity Investors, LLC; Nedal
 Salem;

    Defendants

                    COMPLAINT FOR DECLARATORY JUDGMENT

TO THE HONORABLE COURT:

       The Plaintiffs, Crowley Puerto Rico Services, Inc. and Crowley Caribbean Services, LLC

(collectively referred to as “Crowley”), through the undersigned attorneys, respectfully allege and

pray as follows:

                                 I.      NATURE OF THE CASE

       This case is filed for redress of a breach of a maritime contract and the wrongful actions

and omissions by codefendants Tire Kingdom, Infinity Investors, LLC and Mr. Nedal Salem

(collectively referred herein as “Codefendants”), against Crowley and for the issuance of

declaratory relief pursuant to Title 28 U.S.C. §§ 2201-2202. As will be explained in more detail

below, co-defendants have arbitrarily, capriciously and illegally persisted to wrongfully interpret

the terms and conditions of the Settlement Agreement & Release executed between the parties in

Civil No. 18-01708 (ADC) (“the Settlement Agreement”), refusing to pay outstanding charges

owed to Crowley under the erroneous assumption that said outstanding charges were released



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under the Settlement Agreement. A simple reading of the language of the Release, however, fully

dispels Codefendants’ erroneous stance. Crowley has attempted to reconcile the issue but has been

unsuccessful, as Codefendants refuse to accept that the charges now being collected are completely

independent to those that were part of the Settlement Agreement and Release. A justiciable

controversy exists between the parties and given that there is no other process to exhaust, Crowley

has no other remedy but to file the instant action seeking a determination from this Court that

Codefendants’ outstanding charges were not object of the Settlement Agreement and Release

entered in Civil No 18-01708 (ADC) and that Codefendants have an obligation towards Crowley

to pay the same.

                                II.    JURISDICTION AND VENUE

       1.       Plaintiffs bring this action for a declaratory judgment pursuant to 28 U.S.C. § 2201

et seq. and Rule 57 of the Federal Rules of Civil Procedure.

       2.       This is an Admiralty and Maritime claim within the meaning of Rule 9(h) of the

Federal Rules of Civil Procedure and within the Admiralty Jurisdiction of this Honorable Court

pursuant to 28 U.S.C. § 1333.

       3.       Alternatively, this Honorable Court also has diversity jurisdiction pursuant to Title

28 U.S.C. § 1332(a)(1), since the amount of controversy exceeds the sum or value of $75,000.00,

exclusive of interest and costs, and the suit is between citizens of different states.

       4.       Venue lies within the District of Puerto Rico inasmuch as a substantial part of the

events or omissions that give rise to the instant Complaint occurred in this Judicial District. Thus,

co-defendants’ conduct results in actionable claims within this United States District Court for the

District of Puerto Rico.




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                                                 III.      PARTIES

        5.       Plaintiff Crowley Puerto Rico Services, Inc. (“Crowley”) is a corporation organized

and existing under the laws of Delaware with its principal place of business in Jacksonville,

Florida, and at all material times, was engaged in the business of carrying goods for hire on ocean-

going vessels.

        6.       Plaintiff Crowley Caribbean Services, LLC (“Crowley”) is a limited liability

company organized and existing under the laws of the Cayman Islands with its principal place of

business in Jacksonville, Florida, and at all material times, was engaged in the business of carrying

goods for hire on ocean-going vessels.

        7.       Codefendant Tire Kingdom is an unincorporated entity whose members are citizens

of St. Thomas, United States Virgin Islands. On or about November 4, 2015, Tire Kingdom entered

into an International and U.S. Domestic Ocean Lines and Logistics Volume Contract (“Service

Contract”)1 with Crowley (with effective duration from November 5, 2015 – November 30, 2018)

for the ocean carriage of different commodities. Further, Tire Kingdom regularly conducts

business with Crowley for the ocean carriage of different commodities. As it pertains to this

Complaint, codefendant Tire Kingdom acted as the Shipper and/or Consignee of multiple




1
  Service Contracts are authorized under the Shipping Act of 1984, as amended, and are required to be filed
confidentially with the U.S. Federal Maritime Commission. 46 USC §40502 (Service Contracts). Service Contracts
are further defined under 46 C.F.R. § 530.3(q) as follows:

        Service contract means a written contract, other than a bill of lading or receipt, between one or more
        shippers and an individual ocean common carrier or an agreement between or among ocean common
        carriers in which the shipper makes a commitment to provide a certain minimum quantity or portion
        of its cargo or freight revenue over a fixed time period, and the individual ocean common carrier or
        the agreement commits to a certain rate or rate schedule and a defined service level, such as, assured
        space, transit time, port rotation, or similar service features. The contract may also specify
        provisions in the event of nonperformance on the part of any party.


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containers and up to the filing of the instant Complaint has incurred in charges in the amount of

$103,605.00 in connection to the same.

         8.       Codefendant Infinity Investors, LLC (“Infinity Investors”) is a purported

corporation doing business in St. Thomas, United States Virgin Islands, whose members are

citizens of said territory. Infinity Investors is listed as an “Affiliate” under the Service Contract

with Crowley2. Further, Infinity Investors regularly conducts business with Crowley for the ocean

carriage of different commodities. As it pertains to this Complaint, codefendant Infinity Investors

acted as the Shipper and/or Consignee of several containers and up to the filing of the instant

Complaint has incurred in charges in the amount of $34,100 in connection to the same.

Codefendant Infinity Investors was also a named codefendant in the Underlying Claim Civil No.

18-01708 (ADC) and signatory to the Settlement Agreement and Release executed in said action,

which is also object of the instant Complaint.

         9.       Codefendant Mr. Nedal Salem (“Mr. Salem”) is a natural person, citizen of St.

Thomas, United States Virgin Islands who is listed as an Affiliate under the Service Contract.

Codefendant Mr. Salem was also a named codefendant in the Underlying Claim Civil No. 18-


2
 The Court should note that although the Service Contract is signed by Tire Kingdom as “Shipper”, Clause 5.3 and
Annex B of said Contract lists amongst other Affiliates, Mr. Nedal Salem and Infinity Investors. “Affiliate” and
“Shipper” are defined in the Part II Section 2 (Definitions) of the Service Contract as,

         ‘Affiliate’ means two or more entities, which are under common ownership or control by reason of
         being a parent and subsidiary or entities associated, under common control with, or otherwise related
         to each other through common stock ownership or common directors or officers. Shipper
         acknowledges its continuing obligation to update carrier of any changes in the status of Shipper or
         any of its Affiliates.

         ‘Shipper’ means the party set forth in Section 3 of Part I (or its Affiliate) that is a cargo owner, the
         person for whose account the ocean transportation is provided, the person to whom delivery is to be
         made, a NVOCC or shippers’ association.

As to the applicability of the Service Contract upon Affiliates, said Contract specifically establishes in its pertinent
part that: “The Shipper accepts such covenants, exceptions, limitations and liberties of this Contract on its own
behalf and on behalf of any Affiliates, the Consignee or owner or beneficial owner of the Goods and Shipper
warrants to Carrier that Shipper has the authority to bind the Consignee or owner of the Goods to such extent.” (See,
Part II Clause 1, at page 3 of 12).

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01708 (ADC) and signatory to the Settlement Agreement and Release executed in said action,

which is also object of the instant Complaint.

    IV.         FACTS RELATED TO THE UNDERLYING LAWSUIT AND THOSE
                LEADING TO THE FILING OF THE INSTANT COMPLAINT FOR
                DECLARATORY JUDGMENT

    a. The instant demurrage claim was not part of the Settlement Agreement in the
    Underlying Suit.

          10.     On September 21, 2018, the appearing Plaintiff filed an In Rem and In Personam

Verified Complaint against, defendant, in rem, 27 Containers of Hotel Furniture and, co-

defendants, in personam, Mr. Nedal Salem, Furniture Outlet, and Infinity Investors, LLC. (See

Civil No. 18-01708 (ADC), referred herein as the “Underlying Suit”).3

          11.     The Underlying Suit was filed due to codefendants’ failure to pay Crowley pending

demurrage charges.4

          12.     As a result of the Underlying Suit, this Honorable Court ordered the issuance of the

process of maritime arrest of the in rem defendant 27 Containers. (See, Docket No. 7, Civil No.

18-01708 (ADC)).

          13.     The codefendants in the Underlying Suit insisted on an expeditious Post Arrest

Hearing and further insisted that the Court vacate the arrest of the in rem defendant 27 Containers.

(See, Docket Nos. 20 and 34; Civil No. 18-01708 (ADC)).




3
  While codefendant Tire Kingdom was a party to the Service Contract, it was not a named defendant in the Underlying
Suit.
4
  For a definition of demurrage in a container case, see Gulf Puerto Rico Lines, Inc. v. Associated food Co., Inc., 366
F. Supp. 631, 638 (D.P.R. 1973) (“It is well recognized that demurrage is extended freight, that is, extended ocean
freight charges, and that the risk of vicissitudes which prevent the loading or discharge of cargo within the stipulated
lay days or free time allowed by tariffs, should be borne by the cargo interest, shipper or consignee, as the case may
be. …. This absolute liability to pay demurrage as an incident to the contract of transportation by water, which is
undoubtedly a maritime contract...”.


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       14.     After the benefit of holding the Post Arrest Hearing and reviewing/analyzing the

parties’ briefs in connection to said issue, the District Court issued an Opinion and Order denying

codefendants’ request to vacate the arrest. (See, Docket No. 49; Civil No. 18-01708 (ADC)).

       15.     After this occurred, Plaintiffs and codefendants to the Underlying Suit entered into

the Settlement Agreement, dated January 10, 2019.

       16.     The Settlement Agreement included General Release clauses from the Plaintiffs to

the codefendants in the Underlying Suit and vice versa.

       17.     These General Release clauses, however, are dissimilar, imposing different

conditions as to Crowley and codefendants in the Underlying Suit.

       18.     The specific language of the Crowley’s General Release to codefendants in the

Underlying Suit provides as follows:




       19.     On the other hand, codefendants’ General Release clause as to Crowley’s claims

explicitly provides the following:




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       20.     Simply put, Crowley’s General Release clause towards codefendants did not

include the release of “claims, demands, impositions, obligations, undertakings, controversies,

actions, causes of action, damages, liabilities and all other matters whatsoever of whatever kind or

nature” that were not presented in the Underlying Suit. Stated differently, Plaintiffs only released

codefendants of the claims that were part of the Underlying Suit.

       21.     In addition to the above, most telling is that different from Crowley’s General

Release clause, codefendants’ General Release clause specifically releases Crowley from other

claims not subject or that were not included in the Underlying Suit.

       22.     In connection to this, said General Release clause specifically reads in its pertinent

part as follows: “Defendants, on their own behalf, individually and collectively,…do freely and

voluntarily, hereby forever release and discharge [Crowley] of and from any and all pending and


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potential claims…(even those not subject of the Complaint and Counterclaim, including

claims related to lost or damage cargo, lost vehicles and lost fuel tanks)…”. (Emphasis added).

         23.      It is more than obvious then, that if Crowley intended to also release codefendants

from claims that were not object of the Underlying Suit, it would have stated as such in the General

Release clause of the Settlement Agreement, but it clearly did not do so.

         24.      Similarly, if codefendants wanted to be released of claims not object of the

Underlying Suit, they could have also included said language in the Release clause. They,

however, failed to do so, clearly waiving any right to make such a claim at this juncture.

         25.      Also very telling is that Tire Kingdom, one of the codefendants to the instant case,

was not even a party to the Underlying Suit.

         26.      Hence, there is no way Tire Kingdom can validly attempt to argue that claims

against it were released by way of the Settlement Agreement executed in the Underlying Suit,

when said entity was not even a party to said suit nor to the Settlement Agreement.

b. The outstanding demurrage.

         27.      Entirely unrelated to the claims object of the Underlying Suit, codefendants Tire

Kingdom and Infinity Investors requested that Crowley ship multiple containers consisting of tires

and building materials.

         28.      The ocean transportation of these containers was made pursuant to the following

Bills of Lading5:

          COSS8M212496                        STTN6M000107                         STTN8M000525

          JAXS7M185659                        STTN6M000169                         JAXS8M028408

          JAXS8M004765                        STTN6M000225                         STTN8M000526


5
 Crowley respectfully requests that this Honorable Court take note of the fact that none of these Bills of Lading are
even mentioned in the Verified Complaint/Underlying Suit. (Docket No. 1; Civil No. 18-01708 (ADC)).

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         STTN5M000624                  STTN7M000393                  STTN8M000595

         STTN5M000625                  STTN8M000108                  STTN8M000596

         STTN5M000687                  STTN8M000182                  STTN8M000599

         STTN6M000106                  STTN8M000409                  STTN8M000600

         STTN8M000903                  STTN8M000968                  STTN8M001063



       29.     As agreed, Crowley made proper delivery of all containers subject to the above

listed Bills of Lading.

       30.     However, codefendants failed to pick-up and return the containers within the free

time allowed, consequently incurring in detention, demurrage and other related charges to the tune

of $141,215.00, as of January, 2019.

       31.     During that time (on or about January 2019), Crowley attempted to collect the

$141,215.00 outstanding charges (which continued to accrue daily) incurred by co-defendants in

connection to the shipments object of the Bills of Lading listed in paragraph 28.

       32.     In response to Crowley’s collection efforts, however, co-defendants incorrectly

argued that those charges could not be collected insofar as they were released as part of the

Settlement Agreement and Release entered in Civil No. 18-01708 (ADC).

       33.     As unequivocally cited in ¶ 18 above, said General Release clause contained in the

Settlement Agreement, does not include the release of claims, demands, impositions, obligations,

undertakings, controversies, actions, causes of action, damages, liabilities and all other matters

whatsoever of whatever kind or nature, that were not object of the Underlying Suit.




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        34.     Crowley has devoted significant amount of time and effort in discussing with

codefendants that the outstanding charges were not released under the Settlement Agreement

executed in the Underlying Suit.

        35.     Crowley has also devoted significant amount of time and effort in trying to collect

the amounts due.

        36.     Unfortunately, all these efforts have been unsuccessful as codefendants have failed

to pay the outstanding amounts, which up to August, 2019, amount to a total of $137,705.00, plus

liquidated damages and interests.

        37.     Codefendants have also refused to accept that said charges were not released as part

of the Settlement Agreement executed in the Underlying Suit.

                           V.        BREACH OF MARITIME CONTRACT

        38.     Crowley hereby incorporates and re-alleges the allegations set forth in paragraphs

1-37 as if fully set forth herein.

        39.     Codefendants entered into a maritime contract with Crowley for the ocean

transportation of numerous containers under Bills of Lading Nos.:

         COSS8M212496                   STTN6M000107                  STTN8M000525

         JAXS7M185659                   STTN6M000169                  JAXS8M028408

         JAXS8M004765                   STTN6M000225                  STTN8M000526

         STTN5M000624                   STTN7M000393                  STTN8M000595

         STTN5M000625                   STTN8M000108                  STTN8M000596

         STTN5M000687                   STTN8M000182                  STTN8M000599

         STTN6M000106                   STTN8M000409                  STTN8M000600

         STTN8M000903                   STTN8M000968                  STTN8M001063


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        40.     Crowley shipped and carried the cargo to destination as agreed with proper notice

of arrival issued.

        41.     In violation of the agreed upon terms and conditions that are included in the Service

Contract, Bills of Lading, and Tariffs, codefendants failed to pick-up and return the containers

within the time allowed.

        42.     Codefendants violations have caused the accrual of charges in the amount of

$137,705.00, plus liquidated damages and interests. (up to August, 2019).

        43.     Further charges and interests continue to accrue until full payment is made.

        44.     Despite amicable demands for payment of the outstanding charges, codefendants

have refused to pay.

        45.     As a result of codefendants breach of maritime contract, Crowley has suffered

losses in a sum of no less than $137,705.00 (up to August, 2019) representing the outstanding

charges.

        46.     An additional 25% must be included as liquidated damages as established under the

Credit Agreement executed between the parties.

        47.     Accordingly, there is now due and owing to Crowley from codefendants the sum

of no less than $137,705.00, which continues to increase every day until fully paid, plus liquidated

damages, costs and expenses incurred in collecting all amounts due.

                                VI.   DECLARATORY JUDGMENT

        48.     Crowley hereby incorporates and re-alleges the allegations set forth in paragraphs

1-47 as if fully set forth herein.




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       49.     There is a genuine, bona fide and justiciable dispute and actual controversy

regarding whether the charges that Crowley is attempting to collect in connection to the shipments

object of the Bills of Lading listed at paragraphs 28 & 39 are released under the Settlement

Agreement entered in the Underlying Suit (Civil No. 18-01708 (ADC)), or on the other hand,

codefendants are responsible for the same and should be ordered to pay Crowley all amounts due.

       50.     Declaratory relief will clarify the rights and obligations of the parties and is,

therefore, appropriate to resolve said controversy.

       51.     Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, Crowley in

the utmost good faith requests that this Honorable Court declare the following:

       (i)      That the outstanding charges related to the shipments made pursuant to the Bills

               of Lading listed at paragraphs 28 and 39 are not released under the Settlement

               Agreement entered in the Underlying Suit (Civil No. 18-01708 (ADC));

       (ii)    That co-defendants are responsible for payment of all outstanding charges related

               to the transportation of cargo under the Bills of Lading listed at paragraphs 28 and

               39;

       (iii)   That co-defendants be ordered to pay the sum of $137,705.00 for charges incurred

               in connection to the shipments made pursuant to the Bills of Lading listed at

               paragraphs 28 and 39, plus liquidated damages and interests upon final payment;

       (iv)    That Crowley is entitled to recover all costs, expenses and attorneys’ fees incurred

               in the filing of this Complaint for Declaratory Judgment and proceedings related

               thereto; and

       (v)     For such other and further relief this Honorable Court deems just and proper.

       RESPECTFULLY SUBMITTED.



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In San Juan, Puerto Rico, this 10th day of October, 2019.



                                     s/Jorge F. Blasini
                                     JORGE F. BLASINI
                                     USDC-PR # 213001

                                     s/Juan Carlos Deliz
                                     JUAN CARLOS DELIZ
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